       Case: 1:15-cv-06052 Document #: 110 Filed: 12/19/17 Page 1 of 6 PageID #:795



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 SUMNER DAVENPORT, individually and
 on behalf of all others similarly situated,
                                                     NO. 1:15-cv-06052
                        Plaintiff,

          v.                                         Honorable Virginia M. Kendall

 DISCOVER FINANCIAL SERVICES and
 DISCOVER HOME LOANS, INC.

                        Defendants.


                                     FINAL APPROVAL ORDER AND JUDGMENT




         The Court having held a Final Approval Hearing on September 18, 2017, notice of the

hearing having been duly given in accordance with this Court’s Order (1) Conditionally

Certifying a Settlement Class, (2) Preliminarily Approving Class Action Settlement, (3)

Approving Notice Plan and (4) Setting Final Approval Hearing (the “Preliminary Approval

Order”), and having considered all matters submitted to it at the Final Approval Hearing and

otherwise, and finding no just reason for delay in entry of this Final Approval Order and good

cause appearing therefore,

         It is hereby ORDERED, ADJUDGED AND DECREED as follows:

         1.     The Settlement Agreement and Release dated January 13, 2017, including its

Exhibits (the “Agreement”), and the definition of words and terms contained therein, are

incorporated by reference and are used hereafter. The terms and definitions of this Court’s

Preliminary Approval Order (Dkt. No. 82) are also incorporated by reference in this Final

Approval Order.




                                               -1-

LA 52031830
          Case: 1:15-cv-06052 Document #: 110 Filed: 12/19/17 Page 2 of 6 PageID #:796



           2.      This Court has jurisdiction over the subject matter of the Action and over the

    Parties, including all Settlement Class Members with respect to the Settlement Class certified for

    settlement purposes in this Court’s Preliminary Approval Order, as follows:
                   SETTLEMENT CLASS: All persons to whom DHL made, from
                   June 1, 2012 through July 31, 2015, one or more non-emergency
                   telephone calls (a) promoting goods or services through the use of
                   an automatic telephone dialing system or an artificial or
                   prerecorded voice and whose contact information DHL purchased
                   from a third party lead generator, or (b) to a cellular or residential
                   telephone number registered on the National Do Not Call Registry
                   and who received more than one such call within any twelve-
                   month period and whose contact information DHL purchased from
                   a third party lead generator. Excluded from the Settlement Class
                   are all persons who timely and validly request exclusion from the
                   Settlement Class.

           3.      For purposes of settlement, Plaintiff is hereby appointed the “Class

    Representative.”

           4.      For purposes of settlement, the attorneys at Terrell Marshall Law Group PLLC,

    Burke Law Office, LLC, and Sultzer Law Group are hereby appointed as Class Counsel.

           5.      The Court hereby finds that the Settlement is the product of arm’s length

    settlement negotiations between Plaintiff and Discover.

           6.      The Court hereby finds and concludes that Class Notice was disseminated to

    members of the Settlement Class in accordance with the terms of the Agreement and that the

    Class Notice and its dissemination were in compliance with the Agreement and this Court’s

    Preliminary Approval Order.

           7.      The Court further finds and concludes that the Class Notice and claims

    submission procedures set forth in the Agreement fully satisfy Rule 23 of the Federal Rules of

    Civil Procedure and the requirements of due process, were the best notice practicable under the

    circumstances, provided due and sufficient individual notice to all persons in the Settlement

    Class who could be identified through reasonable effort and support the Court’s exercise of




                                                    -2-
          Case: 1:15-cv-06052 Document #: 110 Filed: 12/19/17 Page 3 of 6 PageID #:797



    jurisdiction over the Settlement Class as contemplated in the Agreement and this Final Approval

    Order.

             8.     The Court hereby finally approves the Settlement and finds that the terms

    constitute, in all respects, a fair, reasonable and adequate settlement as to all Settlement Class

    Members in accordance with Rule 23 of the Federal Rules of Civil Procedure.

             9.     The Court has considered the objection to the settlement made by John W. Davis

    (Dkt. No. 94). The Court overrules the objection.

             10.    The Court hereby finally certifies the Settlement Class for settlement purposes.

    The Court finds for settlement purposes that the Action satisfies all the requirements of Rule 23

    of the Federal Rules of Civil Procedure.

             11.    The Court hereby approves the plan of distribution for the Settlement Fund as set

    forth in the Agreement. The Settlement Administrator is hereby ordered to comply with the

    terms of the Agreement with respect to distribution of Settlement Awards, the Second

    Distribution and disposition of any Remaining Funds thereafter. Should any Remaining Funds

    be distributed, the Court hereby approves Equal Justice Works as the cy pres recipient.

             12.    This Court hereby dismisses this Action, with prejudice, without costs to any

    Party, except as expressly provided for in the Agreement.

             13.    As of the Effective Date, the Plaintiff and each and every one of the Settlement

    Class Members unconditionally, fully and finally release and forever discharge the Released

    Parties from the Released Claims. In addition, any rights of Plaintiff and each and every one of

    the Settlement Class Members to the protections afforded under Section 1542 of the California

    Civil Code and/or any other similar, comparable or equivalent laws will be terminated.

             14.    Plaintiff and each and every Settlement Class Member, and any person actually or

    purportedly acting on behalf of Plaintiff or any Settlement Class Member, are hereby permanently

    barred and enjoined from commencing, instituting, continuing, pursuing,

    maintaining, prosecuting or enforcing any Released Claims (including, without limitation, in any

    individual, class or putative class, representative or other action or proceeding), directly or

                                                     -3-
          Case: 1:15-cv-06052 Document #: 110 Filed: 12/19/17 Page 4 of 6 PageID #:798



    indirectly, in any judicial, administrative, arbitral or other forum, against the Released Parties.

    This permanent bar and injunction is necessary to protect and effectuate the Agreement, this

    Final Approval Order and this Court’s authority to effectuate the Agreement, and is ordered in

    aid of this Court’s jurisdiction and to protect its judgments.

            15.     The Agreement (including any and all exhibits attached thereto) and any and all

    negotiations, documents, and discussions associated with it will not be deemed or construed to be

    an admission or evidence of any violation of any statute, law, rule, regulation or principle of

    common law or equity, or of any liability or wrongdoing by Discover, or the truth of any of the

    claims. Evidence relating to the Agreement will not be discoverable or used, directly or

    indirectly, in any way, whether in the Action or in any other action or proceeding, except for

    purposes of demonstrating, describing, implementing or enforcing the terms and conditions of

    the Agreement, the Preliminary Approval Order and/or this Final Approval Order.

            16.     If for any reason whatsoever this Settlement fails to become effective for any

    reason, the certification of the Settlement Class shall be void and the Parties and the Action will

    return to the status quo as it existed prior to the Agreement, and no doctrine of waiver, estoppel or

    preclusion will be asserted in any proceedings, in response to any motion seeking class

    certification, any motion seeking to compel arbitration or otherwise asserted at any other stage of

    the Action or in any other proceeding. No agreements, documents or statements made by or

    entered into by any Party in connection with the Settlement may be used by Plaintiff, any person

    in the Settlement Class, Discover or any other person to establish liability, any defense and/or any

    of the elements of class certification, whether in the Action or in any other proceeding.

            17.     In the event that the Settlement fails to become effective for any reason, the money

    remaining in the Settlement Fund (including accrued interest), less expenses and taxes

    incurred or due and owing and payable from the Settlement Fund in accordance with the

    Agreement, shall be returned to Discover within 5 days of the event that causes the Agreement to

    not become effective.



                                                     -4-
          Case: 1:15-cv-06052 Document #: 110 Filed: 12/19/17 Page 5 of 6 PageID #:799



            18.     In the event that any provision of the Agreement or this Final Approval Order is

    asserted by Discover as a defense in whole or in part to any claim, or otherwise asserted

    (including, without limitation, as a basis for a stay) in any other suit, action or proceeding

    brought by a Settlement Class Member or any person actually or purportedly acting on behalf of

    any Settlement Class Member(s), that suit, action or other proceeding shall be immediately

    stayed and enjoined until this Court or the court or tribunal in which the claim is pending has

    determined any issues related to such defense or assertion. Solely for purposes of such suit,

    action or other proceeding, to the fullest extent they may effectively do so under applicable law,

    the Parties irrevocably waive and agree not to assert, by way of motion, as a defense or

    otherwise, any claim or objection that they are not subject to the jurisdiction of the Court, or that

    the Court is, in any way, an improper venue or an inconvenient forum. These provisions are

    necessary to protect the Agreement, this Final Approval Order and this Court’s authority to

    effectuate the Agreement, and are ordered in aid of this Court’s jurisdiction and to protect its

    judgment.

            19.     By incorporating the Agreement and its terms herein, the Court determines that

    this Final Approval Order complies in all respects with Federal Rule of Civil Procedure 65(d)(1).

            20.     The Court approves payment of attorneys’ fees and costs to Class Counsel in the

    amount of $1,417,350.00. This amount shall be paid from the Settlement Fund pursuant to the

    terms of the Agreement. The Court finds this amount to be appropriate and reasonable in light of

    the work performed by Class Counsel and the benefits obtained by the Settlement Class

    Members.

            21.     The Court approves payment of service awards to Plaintiff and Polly Hansen in

    the amount of $15,000.00 as to each party. This amount shall be paid from the Settlement Fund

    pursuant to the terms of the Agreement.




                                                     -5-
         Case: 1:15-cv-06052 Document #: 110 Filed: 12/19/17 Page 6 of 6 PageID #:800




           IT IS SO ORDERED.

    Dated: December 19, 2017
                                              The Honorable Virginia M. Kendall
                                              United States District Judge




                                       -6-
